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         UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLORIDA

                                                                  CASE NO.:
   GARFIELD SPENCE

           Plaintiff,

   vs.                                                            INJUNCTIVE RELIEF SOUGHT


   SF PROPERTY HOLDINGS, INC..
         Defendant.
                                                  /

                                            COMPLAINT

           Plaintiff, GARFIELD SPENCE (“Plaintiff”), by and through the undersigned counsel,

   hereby files this Complaint and sues SF PROPERTY HOLDINGS, INC.. (referred to as

   “Defendant”) a for profit company, for declaratory and injunctive relief, attorneys’ fees,

   expenses and costs (including, but not limited to, court costs and expert fees) pursuant to 42

   U.S.C. § 12182 et. seq., and the 2010 Americans with Disabilities Act (“ADA”) and alleges as

   follows:

                                    JURISDICTION AND VENUE

          1.       This Court is vested with original jurisdiction over this action pursuant to

  28 U.S.C. §§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. § 12182 et. seq., based on

  Defendant’s violations of Title III of the ADA. See also, 28 U.S.C. §§ 2201, 2202, as well as the 2010

  ADA Standards.

           2.      Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(B) and Internal

   Operating Procedures for the United States District Court for the Southern District of Florida in




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   that all events giving rise to the lawsuit occurred in Broward County, Florida.




                                                   PARTIES

           3.      Plaintiff, GARFIELD SPENCE is sui juris and is a resident of the State of

   Florida.

           4.      Upon information and belief, Defendant is the lessee, operator, owner and/or

   lessor of the Real Property, which is subject to this suit, and is located at 1901, 1905, 1907, 1909

   and 1911 US-441 Ft. Lauderdale, FL (“Premises”), and is the owner of the improvements where

   Premises is located.

           5.      Defendant is authorized to conduct, and is in fact conducting, business within the

   state of Florida.

          6.       Plaintiff is an individual with numerous disabilities and is a double amputee

  which results in absolutely no use of the legs and requires him to use and remain in a wheelchair.

  The above listed disability and symptoms cause sudden onsets of severe pain and substantially

  limit Plaintiff’s major life activities. At the time of Plaintiff’s visit to the Premises in March of

  2022 (and prior to instituting this action), Plaintiff suffered from a “qualified disability” under

  the ADA, and required the use of fully accessible parking spaces and fully accessible paths of

  travel throughout the facility. Plaintiff personally visited the Premises, but was denied full and

  equal access and full and equal enjoyment of the facilities and amenities within the Premises,

  even though he would be classified as a “bona fide patron”.

           7.      Plaintiff, in his individual capacity, will absolutely return to the Premises and

   avail himself of the services offered when Defendant modifies the Premises or modifies the




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   policies and practices to accommodate individuals who have physical disabilities.

           8.      Plaintiff is continuously aware of the violations at Defendant's Premises and is

   aware that it would be a futile gesture to return to the Premises as long as those violations exist,

   and Plaintiff is not willing to suffer additional discrimination.

           9.      Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

   result of Defendant's discrimination until Defendant is compelled to comply with the

   requirements of the ADA.

           10.     Plaintiff would like to be able to be a patron of the Premises in the future and be

   able to enjoy the goods and services that are available to the able-bodied public, but is currently

   precluded from doing so as a result of Defendant's discriminatory conduct as described herein.

   Plaintiff will continue to be precluded from using the Premises until corrective measures are

   taken at the Premises to eliminate the discrimination against persons with physical disabilities.

           11.     Completely independent of the personal desire to have access to this place of

   public accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the

   purpose of discovering, encountering and engaging discrimination against the disabled in public

   accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

   personally visits the public accommodation; engages all of the barriers to access, or at least of

   those that Plaintiff is able to access; tests all of those barriers to access to determine whether and

   the extent to which they are illegal barriers to access; proceeds with legal action to enjoin

   such discrimination; and subsequently returns to Premises to verify its compliance or non-

   compliance with the ADA and to otherwise use the public accommodation as members of the

   able-bodied community are able to do. Independent of other subsequent visits, Plaintiff also

   intends to visit the Premises regularly to verify its compliance or non-compliance with the ADA,




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   and its maintenance of the accessible features of Premises. In this instance, Plaintiff, in

   Plaintiff’s individual capacity and as a “tester”, visited Premises, encountered barriers to access

   at Premises, and engaged and tested those barriers, suffered legal harm and legal injury, and will

   continue to suffer such harm and injury as a result of the illegal barriers to access and the ADA

   violations set forth herein. It is Plaintiff’s belief that said violations will not be corrected without

   Court intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

           12.      Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

   Defendant modifies the Premises or modifies the policies and practices to accommodate

   individuals who have physical disabilities to confirm said modifications have been completed

   in accordance with the requirements of the ADA.

                   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

           13.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 12

   above as if fully stated herein.

           14.      On July 26, 1990, Congress enacted the Americans With Disabilities Act

   (“ADA”), 42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one and a half (1.5)

   years from enactment of the statute to implement its requirements. The effective date of Title III

   of the ADA was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer

   employees and gross receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. §

   36.508(a).

           15.      Congress found, among other things, that:

                 a. some 43,000,000 Americans have one or more physical or mental disabilities,

                    and this number shall increase as the population continues to grow older;

                 b. historically, society has tended to isolate and segregate individuals with




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                disabilities and, despite some improvements, such forms of discrimination

                against disabled individuals continue to be a pervasive social problem, requiring

                serious attention;

            c. discrimination against disabled individuals persists in such critical areas as

                employment, housing, public accommodations, transportation, communication,

                recreation, institutionalization, health services, voting and access to public

                services and public facilities;

            d. individuals with disabilities continually suffer forms of discrimination, including

                outright intentional exclusion, the discriminatory effects of architectural,

                transportation, and communication barriers, failure to make modifications to

                existing facilities and practices. Exclusionary qualification standards and criteria,

                segregation, and regulation to lesser services, programs, benefits, or other

                opportunities; and,

            e. the continuing existence of unfair and unnecessary discrimination and prejudice

                denies people with disabilities the opportunity to compete on an equal basis and

                to pursue those opportunities for which our country is justifiably famous, and

                accosts the United States billions of dollars in unnecessary expenses resulting

                from dependency and non-productivity.

         Congress explicitly stated that the purpose of the ADA was to:

            f. provide a clear and comprehensive national mandate for elimination of

                discrimination against individuals with disabilities;

            g. provide clear, strong, consistent, enforceable standards addressing discrimination




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                    against individuals with disabilities; and

                 h. invoke the sweep of congressional authority, including the power to enforce the

                    fourteenth amendment and to regulate commerce, in order to address the major

                    areas of discrimination faced on a daily basis by people with disabilities.

   U.S.C. § 12101(b)(1)(2) and (4).

           17.      Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010 ADA

   Standards, Defendant’s Premises is a place of public accommodation covered by the ADA by the

   fact it provides services to the general public and must be in compliance therewith.

           18.      Defendant has discriminated and continues to discriminate against Plaintiff and

   others who are similarly situated, by denying access to, and full and equal enjoyment of goods,

   services, facilities, privileges, advantages and/or accommodations located at the Premises, as

   prohibited by 42 U.S.C. § 12182 and 42 U.S.C. § 12101 et. seq., and by failing to remove

   architectural barriers pursuant to 42 U.S.C. § 12182(b)(2)(A)(iv).

           19.      Plaintiff has visited Premises, and has been denied full and safe equal access to

   the facilities and therefore suffered an injury in fact.

           20.      Plaintiff would like to return and enjoy the goods and/or services at Premises on

   a spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by the

   Defendant’s failure and refusal to provide disabled persons with full and equal access to its

   facilities. Therefore, Plaintiff continues to suffer from discrimination and injury due to the architectural

   barriers that are in violation of the ADA.

           21.      Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

   Department of Justice, Officer of the Attorney General promulgated Federal Regulations to

   implement the requirements of the ADA. See 28 C.F.R. § 36 and its successor the 2010 ADA




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   Standards ADA Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. § 36,

   under which said Department may obtain civil penalties of up to $55,000.00 for the first violation

   and $110,000.00 for and subsequent violation.

         22.         Based on a preliminary inspection of the Premises, Defendants are in violation of

  42 USC § 12182 et. seq. and the 2010 American Disabilities Act Standards et. seq., and is

  discriminating against Plaintiff as a result of but not limited to, inter alia, the following specific

  violations:


         a. There are changes in level at Property exceeding ½ (one-half) inch that are not properly

                ramped in violation of section 303.4 of the 2010 ADAAG standards. Specifically, there

                is an approximately 4-5 inch vertical rise at the accessible entrances of the Property,

                except for Unit 1911, thus rendering the interior of the Property inaccessible at these

                entrances. This violation would make it dangerous and difficult for Plaintiff to access

                the units of the Property.

         b. There are changes in level at Property exceeding ½ (one-half) inch that are not properly

                ramped in violation of section 303.4 of the 2010 ADAAG standards. Specifically, there

                is an approximately one inch vertical rise at the accessible entrance of Unit 1911, thus

                rendering the interior of the Property inaccessible at this entrance. This violation would

                make it dangerous and difficult for Plaintiff to access this unit of the Property.

         c. The maneuvering clearance of these accessible entrances are not level (surface slope in

                excess of 1:48) in violation of Section 404.2.4.4 of the 2010 ADAAG standards. This

                barrier to access would make it difficult for Plaintiff to access these units of the

                Property since it is often necessary for individuals in wheelchairs to need to use their

                hands to both wheel through the doorway and keep the door open with another hand.




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           When the maneuvering clearance is not level, this ordinarily difficult process is made

           even more difficult by the inappropriately higher slope.

        d. Not all entrance doors and doorways comply with section 404 of the 2010 ADAAG

           standards, this is a violation of section 206.4 of the 2010 ADAAG standards. This

           barrier to access would make it difficult and dangerous for Plaintiff to access the

           interior of the Property.

        e. At the accessible entrances to all units of the Property, there is a doorway threshold

           with a vertical rise in excess of ½ (one half) inch and does not contain a bevel with a

           maximum slope of 1:2 in violation of section 404.2.5 of the 2010 ADAAG

           standards. This barrier to access would make it dangerous and difficult for Plaintiff to

           access the interior of the Property at this location as the vertical rise at the door

           threshold could potentially cause Plaintiff to tip over when attempting to enter.

           Moreover, this barrier to access is made more difficult by the fact that it is in the

           doorway and Plaintiff would be required to hold the door open with one hand while

           attempt to the “push” the wheel of the wheelchair over the vertical rise.

        f. The Property lacks signage identified by the International Symbol of Accessibility that

           indicates the location of the nearest entrance complying with section 404 of the 2010

           ADAAG standards, if such an entrance exists. This policy decision by Defendant(s)

           violates section 216.6 of the 2010 ADAAG Standards. This violation would make it

           difficult for Plaintiff to find an accessible entrance.

        g. The Property lacks an access route from site arrival points such as the public streets

           and sidewalks to the accessible entrances in violation of section 206.2.1 of the 2010

           ADAAG standards.




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        h. The access aisle to the accessible parking space is not level due to the presence of an

           accessible ramp in the access aisle in violation of Section 502.4 of the 2010 ADAAG

           standards. This barrier to access would make it dangerous and difficult for Plaintiff to

           exit and enter their vehicle while parked at the Property as the lift from the van may

           rest upon the ramp and create an unlevel surface.

        i. The accessible curb ramp is improperly protruding into the access aisle of the accessible

           parking space in violation of section 406.5 of the 2010 ADAAG Standards. This barrier

           to access would make it dangerous and difficult for Plaintiff to exit and enter their

           vehicle while parked at the Property as the lift from the van may rest upon the ramp

           and create an unlevel surface.

        j. The accessible parking space and associated access aisle have a running slope and cross

           slope in excess of 1:48 in violation of Section 502.4 of the 2010 ADAAG standards

           and are not level. This barrier to access would make it dangerous and difficult for

           Plaintiff to exit and enter their vehicle while parked at the Property as Plaintiff’s

           wheelchair may roll down the slope while entering or exiting the vehicle.

        k. The accessible ramp side flares have a slope in excess of 1:10 in violation of section

           406.3 of the 2010 ADAAG standards. This barrier to access would make it dangerous

           and difficult for Plaintiff to access the units of the Property because steep slopes on

           ramp side flares could cause the wheelchair to tip over and injure Plaintiff.

        l. The Property has an accessible ramp leading from the accessible parking space to the

           accessible entrances with a slope exceeding 1:12 in violation of section 405.2 of the

           2010 ADAAG standards. This barrier to access would make it dangerous and difficult

           for Plaintiff to access the units of the Property because when ramps are too steep (more




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           than 1:12) it requires too much physical arm strain to wheel up the ramp and increases

           the likelihood of the wheelchair falling backwards and Plaintiff being injured.

        m. The Property has an accessible ramp along the accessible route leading to the accessible

           entrances with a slope exceeding 1:12 in violation of section 405.2 of the 2010 ADAAG

           standards. This barrier to access would make it dangerous and difficult for Plaintiff to

           access the units of the Property because when ramps are too steep (more than 1:12) it

           requires too much physical arm strain to wheel up the ramp and increases the likelihood

           of the wheelchair falling backwards and Plaintiff being injured.

        n. The Property has an accessible ramp along the accessible route leading to the accessible

           entrances that lacks finished edges or edge protection and/or is otherwise in violation

           of section 405.9 of the 2010 ADAAG standards. This barrier to access would exposes

           Plaintiff to increased risk of injury for if the wheelchair should fall of the side edge of

           the ramp, the lack of edge protection would likely cause Plaintiff to tip and incur injury.

        o. There is a vertical rise in excess of 1/2 inch along the accessible route near the barber

           shop in violation of Section 303.2 of the 2010 ADAAG standards. This barrier to access

           would make it dangerous and difficult for Plaintiff to access public features of the

           Property as vertical rise in excess of ¼ inch may cause Plaintiff’s wheelchair to snag

           on the vertical rise and tip over.

        p. Inside Sunshine Grocery, the interior has walking surfaces lacking a 36 (thirty-six) inch

           clear width, due to a policy of maximizing the number of items of sale in the store by

           placing items in the accessible route, in violation of section 403.5.1 of the 2010

           ADAAG standards. This barrier to access would make it difficult for Plaintiff to




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           properly utilize public features at the Property because the width of Plaintiff’s

           wheelchair would prevent passage through areas with a width less than 36 inches.

        q. Inside Sunshine Grocery, there are sales and services counters lacking any portion of

           the counter that has a maximum height of 36 (thirty-six) inches from the finished floor

           in violation of section 904.4 of the 2010 ADAAG standards, all portions of the sales

           and service counter exceed 36 (thirty-six) inches in height from the finished floor. This

           barrier to access would make it difficult for Plaintiff to properly transact business at the

           Property as Plaintiff is in a wheelchair which makes his height much lower than a

           standing individual, so a surface with a maximum height of 36 inches above the

           finished floor is necessary for Plaintiff to sign credit card receipts.

        r. Inside Sunshine Grocery, the interior has walking surfaces leading to the restroom

           lacking a 36 (thirty-six) inch clear width, due to the placement of a refrigerator in the

           accessible route, in violation of section 403.5.1 of the 2010 ADAAG standards. This

           barrier to access would make it difficult for Plaintiff to properly utilize public features

           at the Property because the width of Plaintiff’s wheelchair would prevent passage

           through areas with a width less than 36 inches.

        s. As a result of the barrier to access identified in (r), there is not an accessible route

           connecting the accessible entrance to the accessible spaces and elements within

           Sunshine Food Mart, such as the restroom, which is open to the public.

        Defendant fails to adhere to a policy, practice and procedure to ensure that all facilities are

           readily accessible to and usable by disabled individuals.



   SUNSHINE FOOD MART RESTROOMS




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        a. The restroom lacks signage in compliance with sections 216.8 and 703 of the 2010

           ADAAG standards. This barrier to access would make it difficult for Plaintiff and/or

           any disabled individual to locate accessible restroom facilities.

        b. The door to the restrooms has a maximum clear width below 32 (thirty-two) inches in

           violation of section 404.2.3 of the 2010 ADAAG standards. This barrier to access

           would make it difficult for Plaintiff and/or any disabled individual to safely utilize the

           restroom facilities as wheelchair typically has a clear width of between 30 and 32

           inches and the wheelchair will not be able to fit through the doorway to access the

           restroom. In the case that the wheelchair may barely fit through, the tight doorway

           would likely injure Plaintiff’s hands as they could get caught between the wheel and

           the doorway.

        c. The door to the restroom lacks a clear minimum maneuvering clearance, due to the

           proximity of the door hardware within 18 inches of objects placed in the door hardware,

           in violation of Section 404.2.4 of the 2010 ADAAG standards. This barrier to access

           would make it difficult for Plaintiff and/or any disabled individual to safely exit the

           restroom due to the fact individuals in wheelchairs have their feet sticking out in front

           of them and when there is inadequate clearance near the door (less than 18 inches),

           their protruding feet block their ability to reach the door hardware to open the door.


        d. The door hardware providing access to the restrooms requires tight grasping and

           twisting of the wrist in violation of Section 404.2.7 of the 2010 ADAAG standards.

           This barrier to access would make it difficult for Plaintiff and/or any disabled individual

           to utilize the restroom facilities.




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         e. The lavatories and/or sinks in the restrooms have exposed pipes and surfaces and are

                not insulated or configured to protect against contact in violation of section 606.5 of

                the 2010 ADAAG standards. This barrier to access would make it difficult for Plaintiff

                and/or any disabled individual to safely utilize the sink as the pipes underneath the sink

                typically have sharp surfaces and/or hot pipes, and since individuals in wheelchairs use

                a sink while seated, their legs are particularly vulnerable to these threats.

         f. The grab bars/handrails adjacent to the commode are missing and violate section 604.5

                of the 2010 ADAAG standards. This barrier to access would make it difficult for

                Plaintiff and/or any disabled individual to safely transfer from the wheelchair to the

                toilet and back to the wheelchair.

         g. The restroom door swings into the clear floor space or space required by the sink and

                toilet in the restrooms in violation of section 603.2.3 of the 2010 ADAAG standards.

                This barrier to access would make it difficult for Plaintiff and/or any disabled individual

                to safely utilize the restroom facilities.

          23.        To the best of Plaintiff’s belief and knowledge, Defendant has failed to eliminate

   the specific violations set forth in paragraph 22 herein.

          24.        Although Defendant is charged with having knowledge of the violations,

   Defendant may not have actual knowledge of said violations until this Complaint makes

   Defendant aware of same.

          25.        To date, the readily achievable barriers and other violations of the ADA still exist

   and have not been remedied or altered in such a way as to effectuate compliance with the

   provisions of the ADA.

          26.        As the owner, lessor, lessee or operator of the Premises, Defendants are required




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   to comply with the ADA. To the extent the Premises, or portions thereof, existed and were

   occupied prior to January 26, 1992, the owner, lessor, lessee or operator has been under a

   continuing obligation to remove architectural barriers at the Premises where removal was readily

   achievable, as required by 28 C.F.R. §36.402.

          27.     To the extent the Premises, or portions thereof, were constructed for occupancy

   after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an

   obligation to design and construct such Premises such that it is readily accessible to and usable

   by individuals with disabilities, as required by 28 C.F.R. §36.401.

          28.     Plaintiff has retained the undersigned counsel for the filing and prosecution of

   this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid

   by Defendant, pursuant to 42 U.S.C. § 12205.

          29.     All of the above violations are readily achievable to modify in order to bring

   Premises or the Facility/Property into compliance with the ADA.

          30.     In instance(s) where the 2010 ADAAG standard does not apply, the 1991

   ADAAG standard applies and all of the violations listed in paragraph 22 herein can be applied

   to the 1991 ADAAG standards.

          31.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

   Plaintiff’s injunctive relief, including an order to alter the subject facility to make them readily

   accessible to and useable by individuals with disabilities to the extent required by the ADA and

   closing the Subject Facility until the requisite modifications are completed.



          WHEREFORE, Plaintiff demands judgment against Defendants and requests the




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    following injunctive and declaratory relief:

               1. That this Court declares that Premises owned, operated and/or controlled by
                  Defendants are in violation of the ADA;
               2. That this Court enter an Order requiring Defendants to alter their facilities to
                  make them accessible to and usable by individuals with disabilities to the full
                  extent required by Title III of the ADA;
               3. That this Court enter an Order directing the Defendants to evaluate and neutralize
                  their policies, practices and procedures toward persons with disabilities, for such
                  reasonable time so as to allow the Defendants to undertake and complete
                  corrective procedures to Premises;
               4. That this Court award reasonable attorney’s fees, all costs (including, but not
                  limited to the court costs and expert fees) and other expenses of suit to the
                  Plaintiff; and,
               5. That this Court award such other and further relief as it may deem necessary, just
                  and proper.


   Dated: April 22, 2022                                Respectfully Submitted,

                                                        /s/ Alberto R. Leal.
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